               Case 18-36002 Document 19 Filed in TXSB on 04/08/19 Page 1 of 1

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In     Mark Austin Rosetta
Re:                                                                              ENTERED
       Debtor(s)                                       Case No.: 18−36002        04/08/2019
                                                       Chapter: 13


                                              ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. William E. Heitkamp is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 4/8/19
